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           Dr Suresh Moolgavkar

   In re   W.R Grace                                    Co Debtor
                    May 26 2009




              Bunt                      cEILflkr    REIQRTINCI   ANI

                    REPORT   NG   ftC   tEGAI      VIDEOGRAPU    VIRM




                    Phone 206 287 9066
                     Fax 206 287 9832
              Email info@buellrealtime.com
             internet     www.buellrealtime.com
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                                                                                                                  90

                                       MR STANSBQRY                          want    to    just       make

     one    statement          for    the    record          just       so    were        clear            As


     you    and         discussed          and   my e-mails reflected                       those          data

     were    produced          to    you    separately upon                  acknowledging             the


     protective             order      This      data    is     governed            by      very

     strict       protective          order issued             through         this       court        and

     it    was    only upon          your    signing the             protective            order and

     sending          the    acknowledgment            required by the                   face    of    the


     protective             order that           was    able       to     send that         to    you
10   just want          to    make    sure       were clear about that                      on    the

11   record

12                                     MR HEBERLING                     Okay         And    let       the

13   record       also show          that    that      was     received            May    20

14                                     MR STANSBURY                     Again             think       we

15   could       go    into    specifics          but    thete          were multiple             times

16
     Jon     in       which         reminded      you    that        we      had    not    received

17
     your acknowledgment                    which      was     the      prerequisite             for

18
     sending          you    that    data

19                                     MR HEBERLING                     Well        theres        an

20   email history              on    that        Thats         not       correct

21                                     MR STANSBURY                     There       is

22                                     MR HEBERLING                     You    reminded          me    once

23   And    apparently          the    first      time          sent         it     it    was    lost in

24   the    mail            So.. Pause

25                          By Mr     Heberling              The     last      sentence          in    that
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     paragraph           you       say        We     can    see       the    estimate       of       Libby

     potency       lies       in    the       middle       of    the    range       for    asbestos

     fibers        and       is    much       smaller than             the    potency       for


     crocidolite              and       somewhat          smaller than          the       potency          for


     amosite            Do    you       see    that

                        Yes

                        And       youve cited              Berman       and    Crump

                        And         believe          Hodgson          and    Darnton       also did

     these       calculations

10                      Well        the       I-Iodgson     and       Darnton       index       is

11   different          from the          potencies             reported       in    Berman          and

12   Crump
13                      And       let    me    explain          the    difference          to    you
14   Berman       and    Crump          used    the       method        the    statistical             model

15   that    was    used          by EPA and          by Nicholson             in    1986            And    that

16   was    based       on    some       work       done    by       Julian    Peto       somewhat

17   earlier            So    they       used       one    form of            statistical             model

18   to    look    at    mesothelioma                incidents          in      cohort          exposed          to

19   asbestos

20                      -Todgson         and    Darnton          used quite               different

21   approach            So       their approach                is    not    directly       comparable

22   to    the    Berman          and    Crump       approach

23                      However           you       can    use       both    approaches          to

24   estimate       the       potency          of    Libby       fiber and          see    where       in    the

25
     spectrum       of       potencies          the       Libby       fiber potency             lies
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                       And    can       you    give       us         rough       idea       of    the


     spectrum       of    potencies            under       Hodgson          and    Darnton

                       Well
                       Like       crocidolite             was       500    times chrysotile                   and

     amosite was          something            else

                       No         Do    you    have       Hodgson          and    Darnton

                       Not    here no

                       Id have           to    look       at    it         And    you       could       do    that


     too      You      could       go    back       and    look       at    Table            in       I-Iodgson

10   and    Darnton       and      look       at    the    potencies             for    mesothelioma

11   thats reported                and       come    to    your own          conclusions

12   regarding         that

13                     And    likewise             theres             table       in    Berman          and

14   Crump    that       does      the       same    thing
15                     Theres                table             see    here       Table            of    Berman

16   and    Crump         And      you       can    look       at    that

17                     And    do       you    agree with             this    Table               of    Hodgson

18   and    Darnton

19                     Its        not         matter       of       agreement          or

20   disagreement                 Its        just         way       of- that           Hodgson          and

21   Darnton      used       to    estimate          the       potency       for       specific

22   cohorts      or     specific            fiber times

23                     And    Ive        used exactly                the    same       method          in    Libby

24   just    to   compare          apples          with    apples            So         compared             the

25   I-Iodgson    and     Darnton            index    for       Libby       with       the       Hodgson       and
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     Carton       indices    for       the       other fibers

                     And         compared             the    Berman          and       Grump       index        for

     lack    of      better        name with                the       Berman       and       Grump       indices

     for    the    other fibers

                     Okay         And       so    did you             consider          Hodgson          and

     Darntons        index       of    relative             potencies             reliable

                     Well        its reliable                    in    that       it    gives       you        way

     to    order the       potencies             of    the       various          fibers

                     And    have       you       relied upon             that          in    entering          your

10   various       opinions

11                   Well        Ive        relied on             that       to    say       that    Libby

12   fiber is not          any    more       toxic          than       other asbestos                fibers

13                   In    fact        if    you       compare          the       potencies          with

14   others       reported       in    Hodgson          and       Darnton              Libby       fiber lies

15   somewhere       right in the                middle               Its considerably                    less

16   potent       than    crocidolite

17                   And    less       potent          also       than       amosite

18                   Perhaps          also            little          less    potent          than

19   amosite

20                   And    more potent                than       chrysotile

21                   And    more potent                than       chrysotile

22                   By    what       factor          was    it more          potent          than

23   chrysotile

24                        dont        recall            Id have              to    go       back    to

25   Hodgson       and    Darnton       to       look       at    the    table
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                        Is    it    fair       to   say     that       all    the    amphiboles             were

     significantly             more potent               than     the    chrysotile

                        Well        it    depends         on    which        amphibole               This    is


       little       less       potent          than      amosite             And    you       know        youd

     have    to    go    to    the       table      and     take         look

                        Maybe            didnt make my question                          clear              was


     asking       whether          it    was    your observation                   that       all    the


     amphiboles          were       significantly               more potent              in    the    potency

     factor       than--       for       causing          lets         say    lung       cancer       first

10   than    was    chrysotile

11                      For    lung       cancer          thats         not       clear       at    all
12   because       theres the              South         Carolina chrysotile                       cohort

13   which    is    has       pretty       high       rates       of    lung       cancer

14                      So    the       relative         potencies           of    amphibole          vs
15   chrysotile          for       lung    cancer               think        that    is       still fairly

16   hotly    debated               And         dont        think       that       the    difference          in

17   potencies          is    all       that    huge
18                      For    mesothelioma the                    amphiboles             are

19
     considerably             more potent             than      chrysotile
20                      And    what       about       for      fibrogenicity

21                           dont        see    any      data     on    that

22                      And    did you          consider          the    Berman          and       Crump

23
     potency       factor          as    reliable

24                      Well        they apply                 different           method          than

25
     I-Iodgson     and       Darnton       do       as         said          And    to    the       extent
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     that    they    reflect       their analyses of                   the       different

     cohorts        yes     they    are       reliable

                     And    you    would       rely        in     discussing             this     matter

     making         presentation          to         group         say          you     would     rely on

     Hodgson    and       Darnton    and       you    would        also rely on               Berman

     and    Grump    in    discussing          potency          factors

                     Would         would       say    is       that    there are             these      two

     different       approaches          to    look       at    exposure          response

     relationships           one    developed             by Berman             and     Grump     that

10
     goes    back    many many           years       to    Julian          Peto and then
11   theres     this       other method          developed             in       2000     by Hodgson

12   and    Darnton         And    here are          the       results          by applying          these

13   two    methods

14                   And    then    if         were       asked       which       particular

15   method    do    you    prefer             would       have       to    say       that        prefer

16   the    Berman    and    Grump       approach

17                   But    nevertheless              you       consider          the     Hodgson        and

18   Darnton    approach          valid        its        just    not       as    good       as   Berman

19   and    Grump
20                   Well     its        just    another           approach                   think

21   its valid               just    prefer          the       Berman       and       Grump

22   approach

23                   Then    in    the    last       paragraph             on    page             youre
24   quoting    from the          Whitehouse          2008       paper           T131    cases     of

25   mesothelioma          resulting          from exposure                to    Libby       asbestos
